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                         `UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN
                               NORTHERN DIVISION


UNITED STATES OF AMERICA,

                              Plaintiff,
v.                                                       Case No. 2:17-cr-5-01
                                                         HON. PAUL L. MALONEY
JAMES DARRELL WILSON,

                      Defendant.
_______________________________/

                                   ORDER OF DETENTION

         A detention hearing was held before the undersigned at the request of defense

counsel on March 22, 2017. Karl Numinen appeared on behalf of defendant and Paul

Lochner appeared for the government.

         For reasons stated on the record defendant shall be detained pending further

proceedings.


         IT IS SO ORDERED.

                                             /s/ Timothy P. Greeley
                                           TIMOTHY P. GREELEY
                                           UNITED STATES MAGISTRATE JUDGE
Dated: March 22, 2017
